                                           1                                                                              LAST REVISED AUGUST 1, 2017.

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                                           6                            IN THE UNITED STATES DISTRICT COURT
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                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          10                          SUPPLEMENTAL ORDER TO
For the Northern District of California




                                          11            ORDER SETTING INITIAL CASE MANAGEMENT CONFERENCE
    United States District Court




                                                            IN CIVIL CASES BEFORE JUDGE WILLIAM ALSUP
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                                                                                       INTRODUCTION
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                                                      The purpose of this supplemental order is to guide the parties on recurring practical
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                                               questions that arise prior to trial and to impose certain requirements for the conduct of the
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                                               case. Counsel must please read this order and follow it.
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                                                                                  SERVICE OF THIS ORDER
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                                                      1.      For cases originating in this Court, plaintiff(s) must serve this order and the order
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                                               setting the initial case management conference (along with any other required pleadings) on each
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                                               defendant. For cases removed from state court, the removing defendant(s) must serve this order
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                                               and the order setting the initial case management conference (along with any other required
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                                               pleadings) immediately on each and every party that has previously appeared or that appears
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                                               within thirty days after removal. Thereafter, any existing party to the action that brings a new
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                                               party into the action must immediately serve a copy of this order and the order setting the initial
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                                               case management conference (along with any other required pleadings) on the new party.
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                                           1                                  CASE MANAGEMENT CONFERENCE
                                           2          2.       The parties will please address the standardized items in the court-wide format
                                           3   for the joint case management statement. This is available at the Standing Order For all Judges
                                           4   of the Northern District of California — Contents of Joint Case Management Statements.
                                           5   Please file (electronically or manually depending on your case) at least SEVEN CALENDAR DAYS
                                           6   prior to the case management conference. Each party shall be represented at the case
                                           7   management conference by counsel prepared to address all such matters and with authority to
                                           8   enter stipulations and to make admissions.
                                           9          3.       In the joint statement for the initial case management conference, any law firm
                                          10   with more than fifty lawyers nationwide must submit a specific plan for how it intends, in this
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                                          11   case, to provide opportunities to junior lawyers (six years or fewer years out of law school) to
    United States District Court




                                          12   argue motions in court, to take depositions, and to examine witnesses at trial. Specific motions,
                                          13   depositions, and junior lawyers must be identified. Please state whether it would be useful to
                                          14   require client representatives to attend the upcoming case management conference where this
                                          15   subject will be discussed.
                                          16          4.       Pursuant to FRCP 26(d), Rule 34 requests may be served more than TWENTY-
                                          17   ONE DAYS    after service of the complaint on a party. The request is considered to have been
                                          18   served at the Rule 26(f) conference. As soon as a party has notice of this order, however, the
                                          19   party shall take such affirmative steps as are necessary to preserve evidence related to the issues
                                          20   presented by the action, including, without limitation, interdiction of any document-destruction
                                          21   programs and any ongoing erasures of e-mails, voice mails, and other electronically-recorded
                                          22   material.
                                          23               ELECTRONIC CASE FILING — LODGING HARD COPIES WITH CHAMBERS
                                          24          5.       In electronic-filing cases, each courtesy copy lodged with chambers pursuant to
                                          25   Civil Local Rule 5-1(e) shall be clearly marked “Chambers Copy — Do Not File” and shall be
                                          26   delivered in an envelope clearly marked with the presiding judge’s name and case number. For
                                          27   the final pretrial conference, please follow Judge Alsup’s Guidelines for Trial and Final Pretrial
                                          28   Conference in Civil Bench/Jury Cases.


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                                           1          6.      In cases that have been referred to a magistrate judge, each courtesy copy for any
                                           2   matter pending before the magistrate judge (e.g., a discovery motion) shall be delivered in an
                                           3   envelope that (1) is clearly marked with the presiding judge’s name and case number and
                                           4   (2) indicates that it is to be delivered to the chambers of the magistrate judge.
                                           5          7.      Please do not provide courtesy copies for administrative motions, including
                                           6   administrative motions to file under seal. Please also do not provide courtesy copies for
                                           7   redacted versions of electronically-filed documents. Where a document electronically filed on
                                           8   the public docket is redacted in whole or in part and is also the subject of an administrative
                                           9   motion to file under seal, please provide only a single courtesy copy that is completely
                                          10   unredacted. For example, if a party files a partially-redacted version of a motion on the
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                                          11   public docket and separately files the unredacted version (with all requested redactions
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                                          12   clearly indicated) as part of an administrative motion to file under seal pursuant to Civil Local
                                          13   Rule 79-5, then the filing party should provide a courtesy copy of only the unredacted version.
                                          14                                   SETTING MOTIONS FOR HEARING
                                          15          8.      Counsel need not request a motion hearing date and may notice non-discovery
                                          16   motions for any Thursday (excepting holidays) at 8:00 a.m. The Court sometimes rules on the
                                          17   papers, issuing a written order and vacating the hearing. If a written request for oral argument is
                                          18   filed before a ruling, stating that a lawyer of four or fewer years out of law school will conduct
                                          19   the oral argument or at least the lion’s share, then the Court will hear oral argument, believing
                                          20   that young lawyers need more opportunities for appearances than they usually receive.
                                          21                                         FORM OF SUBMISSIONS
                                          22          9.      On summary judgment motions, joint statements of undisputed facts are not
                                          23   required but are helpful if completely agreed upon. Please do not file separate statements of
                                          24   “undisputed facts.”
                                          25          10.     Reply declarations are disfavored. Opening declarations should set forth all facts
                                          26   on points foreseeably relevant to the relief sought. Reply papers should not raise new points that
                                          27   could have been addressed in the opening.
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                                           1          11.     The title of the submission must be sufficient to alert the Court to the relief
                                           2   sought; for example, please do not bury a request for continuance in the body of a memorandum.
                                           3          12.     All submissions filed with the Court shall include on the cover sheet the date and
                                           4   time of the hearing or conference. Counsel should include their facsimile transmission numbers
                                           5   along with their telephone numbers on their papers.
                                           6                                               DISCOVERY
                                           7          13.      The following paragraphs on discovery provide counsel and the parties with
                                           8   views and guidelines of Judge Alsup so that they can plan accordingly. For good cause, the
                                           9   parties are invited to propose any modifications in their joint case management conference
                                          10   statement. Unless and until modified, however, the following provisions shall supplement the
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                                          11   requirements of the Federal Rules of Civil Procedure and the local rules.
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                                          12          14.     In responding to requests for documents and materials under FRCP 34, all parties
                                          13   shall affirmatively state in a written response the full extent to which they will produce materials
                                          14   and shall, promptly after the production, confirm in writing that they have produced all such
                                          15   materials so described that are locatable after a diligent search of all locations at which such
                                          16   materials might plausibly exist. It is not sufficient to state that “responsive” materials will be or
                                          17   have been produced. Such a response leaves open the distinct possibility that other responsive
                                          18   materials have not been produced.
                                          19          15.     In searching for responsive materials in connection with FRCP 34 requests or for
                                          20   materials required to be disclosed under FRCP 26(a)(1), parties must search computerized files,
                                          21   e-mails, voice mails, work files, desk files, calendars and diaries, and any other locations and
                                          22   sources if materials of the type to be produced might plausibly be expected to be found there.
                                          23   The Court has found that certain basic information normally learned by counsel anyway should
                                          24   be made available to the other side at the time of production, as if it were a response to a
                                          25   standing interrogatory, as follows. At the time of the production, the responding party should
                                          26   provide a written list to the requesting party setting forth in detail each specific source and
                                          27   location searched. The list must also identify, by name and position, all persons conducting the
                                          28   search and their areas of search responsibility. The producing party shall also provide a list


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                                           1   describing the specific source for each produced item as well as for each item withheld on a
                                           2   ground of privilege, using the unique identifying numbers to specify documents or ranges.
                                           3   Materials produced in discovery should bear unique identifying control numbers on each page.
                                           4          16.      To the maximum extent feasible, all party files and records should be retained
                                           5   and produced in their original form and sequence including file folders, and the originals should
                                           6   remain available for inspection by any counsel on reasonable notice.
                                           7          17.     Except for good cause, no item shall be received as case-in-chief evidence if the
                                           8   proponent has failed to produce it in response to a reasonable and proper discovery request
                                           9   covering the item, regardless of whether any discovery motion was made. A burden or
                                          10   overbreadth or similar objection shall not be a valid reason for withholding requested materials
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                                          11   actually known to counsel or a party representative responsible for the conduct of the litigation.
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                                          12          18.     Privilege logs shall be promptly provided and must be sufficiently detailed and
                                          13   informative to justify the privilege. See FRCP 26(b)(5). No generalized claims of privilege or
                                          14   work-product protection shall be permitted. With respect to each communication for which a
                                          15   claim of privilege or work product is made, the asserting party must at the time of assertion
                                          16   identify:
                                          17                  (a)     all persons making or receiving the privileged or protected
                                          18          communication;
                                          19                  (b)     the steps taken to ensure the confidentiality of the communication,
                                          20          including affirmation that no unauthorized persons have received the
                                          21          communication;
                                          22                  (c)     the date of the communication; and
                                          23                  (d)     the subject matter of the communication.
                                          24   Failure to furnish this information at the time of the assertion will be deemed a waiver of the
                                          25   privilege or protection. The log should also indicate, as stated above, the location where the
                                          26   document was found.
                                          27           19.     Absent extraordinary circumstances, counsel shall consult in advance with
                                          28   opposing counsel and unrepresented proposed deponents to schedule depositions at


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                                           1   mutually-convenient times and places. That some counsel may be unavailable shall not,
                                           2   however, be grounds for deferring or postponing a deposition if another attorney from the
                                           3   same firm or who represents a party with similar interests to that witness is able to attend.
                                           4   Ordinarily, if one side desires a prompt deposition, the other side is expected to agree to dates
                                           5   falling within thirty days of the request. On the other hand, rarely should one side expect the
                                           6   other side to agree to a deposition sooner than seven days of the request.
                                           7          20.     If any objection to a request for materials is overruled, and if the disputed request
                                           8   was due and pending at the time of a deposition, the withholding party or counsel must, at the
                                           9   request of any other party, re-produce all deponents under its control or represented by them for
                                          10   further deposition examination as to any new materials produced in response that are germane
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                                          11   to that deponent and must bear the expense of doing so. A party objecting to producing
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                                          12   requested materials may not use the existence of its own objections as a basis for postponing
                                          13   any deposition unless such party promptly meets and confers and then, if failing to reach an
                                          14   agreement, seeks to bring a prompt motion for a protective order.
                                          15          21.     Counsel and parties shall comply with FRCP 30(d)(1). Deposition objections
                                          16   must be as to privilege or form only. Speaking objections are prohibited. Under no
                                          17   circumstances should any counsel interject, “if you know,” or otherwise coach a deponent.
                                          18   When a privilege is claimed, the witness should nevertheless answer questions relevant to the
                                          19   existence, extent or waiver of the privilege, such as the date of a communication, who made the
                                          20   statement, to whom and in whose presence the statement was made, other persons to whom the
                                          21   contents of the statement have been disclosed, and the general subject matter of the statement.
                                          22   Private conferences between deponents and attorneys in the course of examination, including a
                                          23   line of related questions, are improper and prohibited except for the sole purpose of determining
                                          24   whether a privilege should be asserted.
                                          25          22.      Deponents and their counsel must make a good-faith effort to prepare for
                                          26   depositions and to refresh witness memories on important matters in the suit about which the
                                          27   witness reasonably should be expected to have knowledge. Deponents who claim to lack
                                          28   recollection during their deposition but who later claim at trial to have had their memories


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                                           1   refreshed in the interim, may be, among other things, impeached with their previous failures of
                                           2   recollection during their depositions or be subject to preclusion. In preparing deponents,
                                           3   defending counsel shall segregate and retain all materials used to refresh their memories and
                                           4   shall provide them to examining counsel at the outset of the deposition.
                                           5          23.     To the maximum extent feasible, deposition exhibits shall be numbered in a
                                           6   simple manner that will allow the same numbering at trial. In discovery, counsel shall agree on
                                           7   blocks of exhibit numbers to be used by the respective parties. Identical exhibits should not be
                                           8   re-marked, but various versions of the same document, such as copies with hand notes added,
                                           9   should be separately marked if used. See Local Rule 30-2(b)(3).
                                          10          24.     FRCP 26(a)(2)(B) requires disclosure of all opinions, bases, reasons and other
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                                          11   information considered by an expert. Counsel shall preserve all drafts of expert reports
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                                          12   (partial or complete) and notes and other evidence of communications with experts (or with
                                          13   any intermediaries between counsel and the experts) on the subject of this actual or potential
                                          14   testimony, and shall instruct their experts and any intermediaries to do likewise. These
                                          15   materials, however, need not be produced absent the showing required by FRCP 26(b)(3)
                                          16   and (4).
                                          17          25.     With respect to depositions under FRCP 30(b)(6), the fundamental purpose is to
                                          18   allow a party to notice a deposition by subject matter, thereby requiring the respondent to
                                          19   designate and to produce one or more organization witnesses knowledgeable on the designated
                                          20   topic, a useful procedure when the roles of percipient witnesses controlled by an adverse party
                                          21   are unknown. In some cases, however, counsel routinely appear to notice
                                          22   Rule 30(b)(6) depositions on numerous and wide-ranging topics, including even the basis for
                                          23   “contentions” made by adverse parties. To obviate disputes and to give guidance, these
                                          24   guidelines will be observed:
                                          25                 (a)    Without a prior order increasing the limit, a party may seek
                                          26         Rule 30(b)(6) depositions from another party on up to a total of ten subject
                                          27         matters (for the entire case) described with “reasonable particularity.” In framing
                                          28         the subjects, it is normally improper to ask for Rule 30(b)(6) deponents to testify


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                                           1   concerning the entire basis of a claim or defense. On the other hand, examples of
                                           2   proper subjects, which would require the respondent to find and to produce
                                           3   knowledgeable deponents, include “the time line of research and development
                                           4   leading to the invention in question” or “the efforts undertaken by defendant to
                                           5   locate documents responsive to plaintiff’s document request.” The notice should
                                           6   be directed at discovering percipient facts in the possession of the adverse party,
                                           7   not at forcing a supposed “fact witness” to appear and defend the entire thesis of a
                                           8   claim or defense. If a notice includes an overbroad topic, the overbroad topic
                                           9   shall be unenforceable and may not be later replaced with a proper topic.
                                          10          (b)     Each witness-designee deposed for one half-day or more in a
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                                          11   Rule 30(b)(6) deposition shall count as a single deposition for purposes of the
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                                          12   deposition limit under FRCP 26 or under any case management order setting a
                                          13   limit on the number of depositions. A corporate designee may, immediately after
                                          14   being deposed on the stated subject, be deposed in his or her individual capacity.
                                          15   Both such sessions shall count together as a single deposition (although they
                                          16   should be separately transcribed). If two designees, to take another example, are
                                          17   interrogated, each for one half-day or more, then they count as two depositions.
                                          18          (c)     If an organization cannot reasonably locate a witness to testify
                                          19   based on personal knowledge, there is no requirement under Rule 30(b)(6) for the
                                          20   organization to “woodshed” or to “educate” an individual to testify on the subject.
                                          21   If the organization does not produce any such deponent, however, the
                                          22   organization may not present case-in-chief evidence at trial or on summary
                                          23   judgment on that topic from any witness it could have so designated.
                                          24          (d)     Rule 30(b)(6) testimony never constitutes an irrebuttable judicial
                                          25   admission. It will normally, however, be evidence admissible against the
                                          26   organization producing the witness. The jury may, upon request, be instructed on
                                          27   the significance of the testimony under Rule 30(b)(6).
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                                           1             26.   If a dispute arises during a deposition and involves either a persistent obstruction
                                           2   of the deposition or a refusal to answer a material question on a ground other than privilege,
                                           3   counsel may attempt to arrange a telephone conference with the Court through the courtroom
                                           4   deputy, Dawn Logan, at 415-522-2020. Any such conference should be attended by the same
                                           5   court reporter recording the deposition.
                                           6             27.   All other requests for discovery relief must first be summarized in a letter no
                                           7   longer than three pages from the party seeking relief after having met and conferred. Up to
                                           8   twelve pages of attachments may be added. In the letter, counsel should identify themselves in
                                           9   the signature block as “counsel for ___________.” In addition, counsel must state whether the
                                          10   parties have met and conferred either in person or by telephone over all the issues in the letter.
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                                          11   The letter should be electronically-filed in the official file along with the discovery-dispute
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                                          12   requests and responses, as well as any timely letter cancelling the hearing if settlement is
                                          13   reached. (Please note that with all communications with the Court by e-filing, a hard copy must
                                          14   be lodged in the Court’s mail box in the Clerk’s Office on the sixteenth floor in the time frame
                                          15   requested by local rule.) The Court will then advise the parties whether a response, written
                                          16   motion or court hearing will be required. After the hearing, counsel should submit their
                                          17   proposed order (agreed as to form) by e-filing it. This paragraph applies only to cases wherein
                                          18   discovery is being supervised by the district judge rather than by a magistrate judge or special
                                          19   master.
                                          20                                              DISCLOSURES
                                          21             28.   Apart from discovery, Rule 26 requires certain automatic disclosures and requires
                                          22   them to be made in a timely manner. Under Rule 37(c), untimely-disclosed materials may not be
                                          23   used at trial or on summary judgment unless the delay in disclosure is “harmless” or unless
                                          24   “substantial justification” for the delay is shown.
                                          25                                  COMMUNICATIONS WITH CHAMBERS
                                          26             29.   Please do not send any letters to the Court (except for requests for discovery
                                          27   conferences, short cover letters for dismissals, orders agreed-upon as to form, or chambers
                                          28   copies of electronically-filed documents). When corresponding with the Court by letter, always


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                                           1   identify whom you represent. Please do not fax or messenger anything to chambers without
                                           2   advance permission specific to the item. Please e-file all submissions to the Court and make sure
                                           3   a hard copy is lodged in the Court’s mail box in the Clerk’s Office on the sixteenth floor within
                                           4   the time frame requested by local rule.
                                           5          30.     You may contact the courtroom deputy, Dawn Logan (on the sixteenth floor in
                                           6   the Clerk’s Office), at 415-522-2020 with appropriate inquiries. Except for the letters described
                                           7   above, please do not attempt to make contact by telephone or any other ex parte means with
                                           8   chambers staff.
                                           9                CROSS REFERENCE TO OTHER STANDING ORDERS AND GUIDELINES
                                          10          31.     The Court has separate standing guidelines for preparation for the final pretrial
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                                          11   conference and trial. In securities cases, the Court has a standing order concerning early notice
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                                          12   to class members. They are always available for review at the website for the United States
                                          13   District Court for the Northern District of California at www.cand.uscourts.gov.
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                                          16   Dated: August 1, 2017.
                                                                                                    WILLIAM ALSUP
                                          17                                                        UNITED STATES DISTRICT JUDGE
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